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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                    )
AMERICAN IMMIGRATION COUNCIL,                       )
                                                    )
       Plaintiff,                                   )
                                                    )
                 v.                                 )       Civil Action No. 19-0983 (CJN)
                                                    )
U.S. CITIZENSHIP AND IMMIGRATION                    )
SERVICES,                                           )
                                                    )
       Defendant.                                   )
                                                    )

                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of November 19, 2019, Plaintiff American

Immigration Council and Defendant U.S. Citizenship and Immigration Services respectfully

submit this Joint Status Report in this Freedom of Information Act (“FOIA”) case.

       This case involves two FOIA requests that Plaintiff submitted to Defendant. On

November 16, 2018, Plaintiff requested various data points with respect to Forms I-129 Petition

for a Nonimmigrant Worker. On January 22, 2019, Plaintiff requested various data points with

respect to Forms I-140 Immigrant Petition for Alien Workers. Both requests sought information

from October 1, 2008 to the present.

       As previously reported, Defendant has completed its response to Plaintiff’s requests and

the parties have met and conferred regarding Plaintiff’s follow-up questions. Plaintiff has been

considering whether a briefing schedule is necessary and requires additional time to make that

determination.

       The parties request to file a Joint Briefing Schedule on January 10, 2020, unless the case

is dismissed before then.
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Dated: December 18, 2019              Respectfully submitted,

                                             /s/ Emily Creighton
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